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    UNITED STATES DISTRICT COURT
1   WESTERN DISTRICT OF NEW YORK
2   ------------------------------------------------------------------X
    DOUGLAS J. HORN and CINDY HARP-HORN,
3                                                                         Civ Action No: 15-cv-701 FPG/MJR
                                       Plaintiff,
4                                                                         DECLARATION of PLAINTIFFS’
            -against-                                                     COUNSEL for EXTENSION
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6
    MEDICAL MARIJUANA, INC.,
7   DIXIE ELIXIRS AND EDIBLES,
    RED DICE HOLDINGS, LLC, and
8   DIXIE BOTANICALS,
9                                       Defendants,
    ------------------------------------------------------------------X
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             DECLARATION OF COUNSEL IN SUPPORT OF EXTENSION OF TIME
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2           I, Jeffrey Benjamin, Esq., declare under penalty of perjury, as provided for by the laws of

3   the United States, that the following statements are true:

4           1.        I am an attorney and counselor at law, duly admitted to practice before the Courts

5   of the State of New York and this Court.

6           2.        As of yesterday, I am “new” counsel for plaintiffs in this matter with the filing of

7   Document #37 on the Court’s Docket. However, the Court and the parties may remember me as

8   the original counsel who filed this case. As such, I am familiar with the facts and circumstances

9   of this matter.

0           3.        This Declaration is being submitted in support of Plaintiffs’ application for a

1   (five) 5 month extension of time of the Case Management Order, given my re-entry into the case,

2   and need to get current on what has been conducted over the past one year. The current Case

3   Management Order is Document #31 from October, 2016.

4           4.        The impetus for this motion is that former counsel for plaintiffs has advised me

5   that he contacted defense counsel in this matter to obtain consent for said extension, but defense

6   counsel would not so consent.

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1           5.      The reasons for this request are threefold. First, I understand that the current
2   status of the case is that depositions of the plaintiffs have gone forward, but defendants’ have
3   not. There is significant fact discovery yet to be completed.
4           6.      Second, I will need a short time to obtain the file from former counsel and prepare
5   for continued fact discovery.
6           7.      Third, it appears that prior plaintiffs’ counsel was not able to make the instant
7   motion earlier. No prior request for the relief requested herein has been made and this is
8   plaintiffs' first such motion.
9           8.      This case involves complicated issues of liability and damages involving a certain
0   chemical product of the defendants that plaintiffs’ allege was not as advertised, and which had an
1   adverse effect on his employment. Fact and expert discovery is extensive and is substantially not
2   complete. As such, it was likely that this request would have come to Court in any event, despite
3   the current change in counsel.
4           9.      Plaintiffs therefore respectfully request this Court extend the Case Management
5   Order’s discovery and other deadlines by five (5) months respectively.
6           WHEREFORE plaintiffs respectfully request a first extension of time as to the Case
7   Management Order, along with such other relief the Court deems proper.
8           Dated: Great Neck, New York                  Respectfully Submitted,
                   June 22, 2017
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0                                                        KUPILLAS, UNGER & BENJAMIN, LLP

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                                                         Jeffrey Benjamin
                                                         Jeffrey Benjamin, Esq.
2                                                        Attorney for Plaintiffs
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